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                             HOUSING DISCRIMINATION COMPLAINT


       CASE NUMBER:   09-11-0400-8


       1.    Complainants

             Cara Barber
             1954 Campion Drive
             Kailua, HI 96734

             Major Robert Barber, USMC
             1954 Campion Drive
             Kailua, HI 96734


       2.    Other Aggrieved Persons
            REDACTED
             (son, age 10)

            REDACTED
             (daughter, age 5)



       3.    The following is alleged to have occurred or is about to occur:

             Discriminatory refusal to rent.
             Discriminatory terms, conditions,· privileges, or services and
             facilities.
             Discriminatory acts under Section 818 (coercion, Etc.).
             Failure to make reasonable accommodation.


       4.    The alleged violation occurred because of:

             Handicap and familial status.


       5.    Address and location of the property in question (or if no property
             is involved, the city and state where the discrimination occurred):

             2411, 2426 & 2370 Pond Road
             Kailua, HI 96734




                                         EXHIBIT DD
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       6.   Respondent(s)

            Forest City Enterprises, Inc.,    (Management Agent)
            P.O. Box 63041
            Kaneohe Bay, HI 96863

            Forest City Enterprises, Inc.    (Management Agent)
            1100 Terminal Tower
            50 Public Square, Suite 1200
            Cleveland, OH 44113-2203

            Tom Carter, VP of Military Housing
            Forest City Enterprises, Inc.
            1100 Terminal Tower
            50 Public Square, Suite 1200
            Cleveland, OH 44113-2203

            John Pampalone, Resident Services Manager
            Forest City Enterprises, Inc.
            P.O. Box 63041
            Kaneohe Bay, HI 96863

            Casey Robinson, General Manager
            Forest City Enterprises, Inc.
            P.O. Box 63041
            Kaneohe Bay, HI 96863


       7.   The following is a brief and concise statement of the facts regarding
            the alleged violation:

            The Complainants are Major Robert Barber, USMC, and his wife, Cara
            Barber.  The Respondents are Forest City Enterprises, Inc.
            (Management Agent); Casey Robinson (General Manager, Forest City);
            Tom Carter (Vice-President of Military Housing, Forest City); and John
            Pampalone (Resident Services Manager of Military Housing, Forest
            City) . The Complainants allege discrimination based on disability
            and familial status.

            The Complainants have two children, REDACT (age 10) and REDACTED
            (age 5). REDACT is an individual with disabilities as defined by the
                      ED
            federal Fair Housing Act. REDACTE suffers from chronic asthma that was
            caused by, and continues Dto be exacerbated by, environmental toxins
            some of which are prevalent in her current military housing (1954
            Campion Drive) . The 1950s military housing aboard Marine Corps Base
            Hawaii (MCBH) is located in Kaneohe Bay, HI and contains, but is not
            limited to, lead paint, toxic mold, asbestos, etc. When REDACT is
                                                                        ED
            exposed to these environmental toxins, she suffers asthmatic episodes
            that are often preceded by wheezing, coughing and/or choking, gagging,
            etc. and requiring prescribed medications. During long periods of
            exposure to these toxins, REDACT requires emergency medical care.
                                      ED
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           On August 31, 2009 the Complainants moved into 1954 Campion Drive.
           Prior to move in, the Respondents assured the Complainants that this
           house and the immediate surrounding areas would be free of toxins that
           could exacerbate REDAC 's asthma. Then, just two months after moving
                            TED
           in, the Complainants  learned of the demolition of existing military
           housing to be followed by a construction project of new military
           housing.   The demolition project would start less than 50 yards from
           the Complainants' house and will have an adverse effect on REDAC 's
                                                                         TED
           asthma.

            On September 24, 2010 the Complainants requested a reasonable
            accommodation to relocate to another house, one that did not contain,
            and was not located in, an area where REDAC 's asthma would be
                                                    TED
            exacerbated. Although the Complainants had submitted a reasonable
            accommodation request for same, in 2009, and subsequently moved into
            their current house on Campion Drive (which they later discovered was
            not medically suitable for REDAC ) , Respondent Management Agent
                                        TED
            required additional medical documentation to support the September
            24, 2010 request.   Respondent Pampalone told the Complainants that
            his Corporate Office has to review and approve their request for REDAC
                                                                             TED
            However, the Complainants learned that Respondent Pampalone had      the
            authority to review and approve, at his level, reasonable
            accommodation requests from the adult, active duty Marine.

            The Complainants stated that the houses located in the Kaluapuni
            neighborhood (32 houses) are ~pwind of demolition/construction
            projects.    Two houses (2370 and 2411 Pond Road) became available in
            this neighborhood and the one the Complainants were interested in,
            at 23 70 Pond Road, recently became vacant.  Respondent Pampalone told
            the Complainants that the houses in the Kaluapuni neighborhood are
            in "high demand" because they are in the best location away from any
            effects of the demolition and construction projects and, the Kaluapuni
            neighborhood would accommodate REDAC 's medical needs.    The
                                             TED
            Complainants persistently reminded    Respondent Management Agent of
            their need to move into one of the two available houses; however,
            Respondent Management Agent made no offers to them for either one of
            these houses.    By October 13, 2010 a family had moved into 2370 Pond
            Road.    Shortly thereafter, the house at 2411 Pond Road became
            occupied. Approximately one month later, the house at 2426 Pond Road
            became vacant yet the Respondent Management Agent made no offer to
            the Complainants.

            On October 13, 2010, while Mr. Barber was out of the country on military
            duty, Respondent Pampalone advised Mrs. Barber that they were prepared
            to offer her a house at 1728 Lawrence Road.   Respondent Pampalone told
            Mrs. Barber that the location of these houses is the next best to the
            Kaluapuni neighborhood. Mrs. Barber agreed to meet Respondent
            Pampalone at the house and, despite Mr. Barber's absence, Respondent
            Pampalone gave Mrs. Barber 48 hours to accept or decline the house.
            Mrs. Barber was told that if she declined the house, there would be
            no guarantees about any future offers. Mrs. Barber learned that the
            house at 1728 Lawrence Road is located less than 100 yards from a
            demolition project.    In addition, the Lawrence Road neighborhood has
            consistent and strong trade winds that blow in the direction of 1728
            Lawrence Road.   Thus, the Complainants remain at the original Campion
            Drive house.
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      8.    The most recent date on which the alleged discrimination occurred:

            October 13, 2010.


      9.    Types of Federal Funds identified:

            In 1996, Congress established the Military Housing Privatization
            Initiative (MHPI) as a tool to help the military improve the quality
            of life for its service members by improving the condition of their
            housing. The MHPI was designed and developed to attract private
            sector financing, expertise and innovation to provide necessary
            housing faster and more efficiency than traditional Military
            Construction processes would allow.


      10.   The acts alleged in this complaint, if proven, may constitute a
            violation of the following:

            Sections 804a or f, 804b or f, 818 and 804f3B of Title VIII of the
            Civil Rights Act of 1968 as amended by the Fair Housing Act of 1988.


      Please sign and date this form:

                        al ty of perjury that I have read this complaint (including
                        nd that it is true and correct.


                                                           Zf. Be 2iJ /7)
                                                               (Date)



                                                          ~f (Date)
                                                               ~ UJlD
      N 0 T E : HUD WILL FURNISH A COPY OF THIS COMPLAINT TO THE PERSON OR
      ORGANIZATION AGAINST WHOM IT IS FILED.




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